
4 Cal.App.2d 669 (1935)
VENTURA UNION HIGH SCHOOL DISTRICT OF VENTURA COUNTY (a Public Corporation), Petitioner,
v.
HARRY VAN DELINDER, Respondent; GORDON J. MILLER, Intervener.
Civ. No. 10061. 
California Court of Appeals. Second Appellate District, Division Two.  
February 20, 1935.
 Clarke &amp; Bowker for Petitioner.
 Don R. Holt for Respondent.
 McGee &amp; Robnett for Intervener.
 The Court.
 A warrant for the payment of a sum of money was regularly drawn upon the treasurer of Ventura County for the purchase of land to be used for high school purposes. The treasurer of the county refused payment upon several grounds. The high school district filed a petition in mandate with this court to compel the treasurer to honor the warrant. A return was made in which certain issues of fact were raised and the court appointed its presiding justice to proceed to the city of Ventura and there take evidence as the court's referee. *670
 [1] The presiding justice complied therewith and has reported to this court to the effect that the allegations of fraud upon which the issues arose have been withdrawn and that the said referred-to warrant has been paid.
 Wherefore it is ordered that the proceedings be and they are hereby dismissed.
